Case 2:21-cv-04405-RGK-MAR Document 85 Filed 03/09/22 Page 1 of 4 Page ID #:1138



   1     THE INSTITUTE FOR JUSTICE
         Robert Frommer*
   2     rfrommer@ij.org
         901 N. Glebe Rd., Suite 900
   3     Arlington, VA 22203
         Tel. (703) 682-9320
   4
         Robert E. Johnson*
   5     rjohnson@ij.org
         16781 Chagrin Blvd., Suite 256
   6     Shaker Heights, OH 44120
         Tel. (703) 682-9320
   7
         * Admitted pro hac vice.
   8
         THE VORA LAW FIRM, P.C.
   9     Nilay U. Vora (SBN 268339)
         nvora@voralaw.com
  10     Jeffrey Atteberry (SBN 266728)
         jatteberry@voralaw.com
  11     201 Santa Monica Blvd., Suite 300
         Santa Monica, CA 90401
  12     Tel. (424) 258-5190
  13     Attorneys for Plaintiffs
  14                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
  15                                WESTERN DIVISION
                                                 Case No. 2:21-cv-04405-RGK-MAR
  16   PAUL SNITKO, JENNIFER
       SNITKO, JOSEPH RUIZ, TYLER                PLAINTIFFS’ NOTICE OF
  17   GOTHIER, JENI VERDON-                     MOTION TO COMPEL
       PEARSONS, MICHAEL STORC,                  DISCOVERY RESPONSES AND
  18   and TRAVIS MAY,                           ENTER PROTECTIVE ORDER
  19                                 Plaintiffs, (Filed
                                                 37-2
                                                        Concurrently with Parties’ Rule
                                                      Joint Stipulation; Declarations of
                    v.                           Robert Frommer, Victor A. Rodgers,
  20
                                                 and Madison MacDonald; Proposed
  21   UNITED STATES OF AMERICA,                 Protective Order; and Proposed Order)
       TRACY L. WILKISON, in her                 DISCOVERY MATTER
  22   official capacity as Acting United
       States Attorney for the Central           Date: March 30, 2022
  23   District of California, and KRISTI
       KOONS JOHNSON, in her official            Time: 10:00 A.M.
  24   capacity as an Assistant Director of      Courtroom: 790
       the Federal Bureau of Investigation,      Judge: Hon. Margo A. Rocconi
  25                                             Discovery cutoff date: TBD
                                                 Pre-Trial Conference Date: TBD
                                   Defendants. Trial
  26                                                  Date: July 26, 2022
                                                 Complaint Filed: May 27, 2021
  27                                             Amended Complaint Filed: June 9, 2021
  28

                              PLAINTIFFS’ NOTICE OF MOTION TO COMPEL
Case 2:21-cv-04405-RGK-MAR Document 85 Filed 03/09/22 Page 2 of 4 Page ID #:1139



   1   PLEASE TAKE NOTICE that on March 30, 2022, at 10:00 A.M., or as soon
   2   thereafter as this matter may be heard, before the Honorable Margo A. Rocconi,
   3   United States Magistrate Judge for the Central District of California, Western
   4   Division, located at 255 E. Temple St., Los Angeles, CA, 90012, in Courtroom 790,
   5   Plaintiffs Paul Snitko, Jennifer Snitko, Tyler Gothier, Joseph Ruiz, Jeni Verdon-
   6   Pearsons, Michael Storc, and Travis May (collectively “Plaintiffs”) will, and hereby
   7   do, move for an order (1) entering Plaintiffs’ proposed Protective Order Governing
   8   the Exchange of Confidential Information and (2) compelling Defendants the United
   9   States of America, Tracy L. Wilkison (in her official capacity as Acting United States
  10   Attorney for the Central District of California), and Kristi Koons Johnson (in her
  11   official capacity as an Assistant Director of the Federal Bureau of Investigation)
  12   (collectively “Defendants” or the “government”) to respond to Plaintiffs’ pending
  13   discovery requests within three days of entry of the protective order.
  14         First, entry of Plaintiffs’ proposed protective order is appropriate because it
  15   would permit Plaintiffs to share inventory records produced by the government about
  16   a class member’s box with that specific class member. The government insists instead
  17   that Plaintiffs must first notify the government about which class members Plaintiffs
  18   are talking to about the inventories, revealing to the government the progress of
  19   Plaintiffs’ factual investigation and which boxes that investigation is focusing on.
  20   That restriction would violate basic tenets of attorney work-product protection. See
  21   Fed. R. Civ. P. 26(b)(3)(B). The government also wants to bar class members from
  22   using any inventory information they receive to assert claims against the government
  23   for lost, misplaced, or stolen property. But that restriction would violate Ninth Circuit
  24   guidance that discovery materials should be available to parties engaged in collateral
  25   litigation, and the more general principle that protective orders are not intended to
  26   shield the government from claims or embarrassment. See Foltz v. State Farm Mut.
  27   Auto. Ins. Co., 331 F.3d 1122, 1131 (9th Cir. 2003); Glenmede Tr. Co. v. Thompson,
  28   56 F.3d 476, 485 (3d Cir. 1995).
                                                  2
                               PLAINTIFFS’ NOTICE OF MOTION TO COMPEL
Case 2:21-cv-04405-RGK-MAR Document 85 Filed 03/09/22 Page 3 of 4 Page ID #:1140



   1         Second, ordering Defendants to respond to Plaintiffs’ pending discovery
   2   requests within three days of the Court’s entry of the protective order is appropriate
   3   considering the imminent case deadlines. As of today, Defendants have provided
   4   virtually nothing in response to Plaintiffs’ discovery requests—more than four
   5   months after Plaintiffs served them, with just over two months left to complete
   6   discovery, and with only six to seven weeks remaining for discovery by the time of
   7   the Court’s hearing on this motion. Defendants initially delayed responding to
   8   Plaintiffs’ November 6 discovery requests because of the holidays and expected
   9   vacations by government employees, explaining that they could not even formulate
  10   objections until they had all the responsive documents and information at hand.
  11   Defendants now refuse to respond to most discovery until a protective order is
  12   entered. But they unreasonably delayed raising the request for a protective order until
  13   the last moment and have further indicated that it will take additional weeks to
  14   respond to Plaintiffs’ discovery requests even after entry of the protective order.
  15   Defendants should not be permitted to prejudice Plaintiffs’ and the class’s ability to
  16   conduct discovery necessary for their claims by further delaying their responses.
  17         This motion is made following the conference of counsel pursuant to Local
  18   Rule 37-1 on January 24 and February 10, 2022.
  19         Plaintiffs’ motion is based on the accompanying Local Rule 37-2 Joint
  20   Stipulation regarding Plaintiff’s Motion to Compel Discovery Responses and Enter
  21   Protective Order; Declaration of Robert Frommer dated March 8, 2022, and
  22   accompanying exhibits; other pleadings and papers on file with the Court; and any
  23   further briefing and arguments of counsel. The government’s portion of the Joint
  24   Stipulation is supported by the Declaration of Victor A. Rodgers dated March 7,
  25   2022, and accompanying exhibits; the Declaration of Madison MacDonald dated
  26   March 7, 2022, and accompanying exhibits; and other pleadings and papers on file
  27   with the Court.
  28
                                                 3
                              PLAINTIFFS’ NOTICE OF MOTION TO COMPEL
Case 2:21-cv-04405-RGK-MAR Document 85 Filed 03/09/22 Page 4 of 4 Page ID #:1141



   1   Dated: March 9, 2022
                                                Respectfully Submitted,
   2

   3                                            /s/ Robert Frommer                  s
   4                                            THE INSTITUTE FOR JUSTICE
                                                Robert Frommer*
   5                                            rfrommer@ij.org
                                                Joseph Gay^
   6                                            jgay@ij.org
                                                901 N. Glebe Rd., Suite 900
   7                                            Arlington, VA 22203
                                                Tel. (703) 682-9320
   8
                                                Robert E. Johnson*
   9                                            rjohnson@ij.org
                                                16781 Chagrin Blvd., Suite 256
  10                                            Shaker Heights, OH 44120
                                                Tel. (703) 682-9320
  11
                                                *Admitted pro hac vice.
  12
                                                ^Motion for pro hac vice pending.
  13

  14                                            THE VORA LAW FIRM, P.C.
                                                Nilay U. Vora (SBN 268339)
  15                                            nvora@voralaw.com
                                                Jeffrey Atteberry (SBN 266728)
  16                                            jatteberry@voralaw.com
                                                201 Santa Monica Blvd., Suite 300
  17                                            Santa Monica, CA 90401
                                                Tel. (424) 258-5190
  18
                                                 Attorneys for Plaintiffs
  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                                4
                              PLAINTIFFS’ NOTICE OF MOTION TO COMPEL
